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                                 UNITED STATES DISTRICT COURT

                                 EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,                               No. 17 CR 000198 LJO SKO

                    Plaintiff,
                                                        DETENTION ORDER
         v.                                             (Violation of Pretrial Release)

GABRIEL GOMEZ,

                    Defendant.


       After conducting an evidentiary hearing pursuant to 18 U.S.C. § 3148(b) on the United
States’ motion for revocation of the previous order for release, the Court orders the previous
conditions of pretrial release be revoked and this defendant detained based upon the following
findings:

    X there is probable cause to believe the defendant has committed a federal, state or local
      crime while on release and defendant has not rebutted the presumption that his release will
      endanger another or the community in that the Court finds that the defendant gave false
      statements to the pretrial services officer regarding his offense conduct involving driving a
      motor vehicle (18 USC §1001), possessed marijuana (21 USC § 844), exhibited an
      imitation firearm (CPC § 417.4) and drove a vehicle with a suspended license (CVC §
      14601); and

   X there is clear and convincing evidence that the defendant has violated another condition of
     Release, in that he tested positive for marijuana use and gave a false statement to the
     pretrial services officer; and

   X based on the factors set forth in 18 U.S.C. § 3142(g) there is no condition or combination of
     conditions of release that will assure that the defendant will not flee or pose a danger to the
     safety of another person of the community; or

   X the person is unlikely to abide by any condition or combination of conditions of release.
     Fed. R. Crim. P. 46(c), 18 U.S.C. § 3148.

   IT IS ORDERED that pursuant to 18 U.S.C. § 3142(i)(2)-(4) defendant is committed to the custody
of the Attorney General for confinement in a corrections facility separate, to the extent practicable,
from persons awaiting or serving sentences or being held in custody pending appeal. The defendant
shall be afforded reasonable opportunity for private consultation with counsel. Upon further order of a
court of the United States or request of an attorney for the United States the person in charge of the
corrections facility in which the defendant is confined shall deliver the defendant to a United States
Marshal for purpose of an appearance in connection with a court proceeding.

IT IS SO ORDERED.

Dated:        February 7, 2018
                                             UNITED STATES MAGISTRATE JUDGE
